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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA

V. : CRIMINAL NO, 2:19-CR 182

DOROTHY RECARDE

MOTION TO WITHDRAW PRO SE FILING

The defendant, Dorothy Recarde through defense counsel, Heather J. Mattes,

comes before this Honorable Court and respectfully states the following:

1.

She is the defendant in the above-captioned matters.

Mis. Recarde is charged by indictment with two counts: Count 1, 18 U.S.C. section 1521,
Retaliatory Lien and Count 2, 26 U.S.C.A. section 7212(a)(2) Corruptly endeavoring to
obstruct or impede the due administration of the Internal Revenue Service.

The initial appearance was on April 30, 2019, ,

On the same day the defendant appeared pro se and filed an uncounseled “Motion to
Dismiss Improper Indictment with Prejudice, Motion for Rule 11 Sanctions on Government
Employees.”

The Government filed its Response in Opposition on May 6, 2019,

Unrelated to the Government’s Response, the defendant, having retained counsel and
reviewed said Motion requests that it be withdrawn from the court’s consideration.

WHEREFORE, the defendant prays this Honorable Court consider the pro se motion filed

on Aprii 30, 2019 WITHDRAWN.

Respectfully Submitted,

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fo Heather J. Mattes
Attorney for Dorothy Recarde

 

 

 
